Case 8:25-cr-00235-SDM-AAS Document18_ Filed 05/28/25 Page1o

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AO 442 (Rev, 11/11) Arrest Warrant
UNITED STATES DISTRICT COURT
for the
Middle District of Florida
United States of America
V. ) ;
Elizabeth Danielle Rowe, ) CaseNo, 8:21 CH 23 S) SBav— AAS
a/k/a “Simon Roe" ) iy tag
)
)
ah a _ )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and _ bring before a United States magistrate judge witholit unnecessary delay

(name of person to be arrested) _ Elizabeth Danielle Rowe, a/k/a “Simon Roe"

who is accused of an offense or violation based on the following document filed with the court:

@ Indictment

[ Probation Violation Petition

 Superseding Indictment 0 Information 7 Superseding Information

C1 Supervised Release Violation Petition

This offense is briefly described as follows:

Threat to Injure, in violation of 18 U.S.C. § 875(c)

Date: |OS

i i . ||
Violation Notice]

Ls

Complaint

[| Order of the Court

Prana >

City and s Tampa, FL

Printed name and t

___ ELIZABETH WARREN, Clerk, United

Issuing officer's signature

AMPARO MORENO

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Return

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his warrant was received on (date) Zu [2 a s
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State)

, and the person was arrested on (date

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